Case 2:18-cv-00187-.]AD-GWF Document 2-2 Filed 02/01/18 Page 1 of 1 1
CIVIL COVER SHEET

Js 44 (Rev. mann

The .]S 44 civil cover sheet and the information contained herein_neither re lace nor supplement the filin
provided by local rules ofcourt. rt`his form, approved by the .Iudiciai Con erence ot`the United States in

purpose of initiating the civil docket sheet (SEE !N.$TRUCTIONS ON NEXT PA GE ()F TH!.S FORM.)

and service ofp]endings or other papers as required by law, except as
eptember 1974, is required fur the use ofthe Clerk 01 Court for the

 

I. (a) PLAINTIFFS

|nternational |V|arkets Live, |nc., a New York corporation; Christopher

Terry`, an individual

(1)) Couuty oi`ReSidence of First Listed Plaintiff
(EXCEPTIN U.S. PLA.'NT!FF CASES}

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15611,(§*21§6“§'€"€€`8§‘6"’151<“@/ Hen, Nv 39074

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DEFENDANTS

Mlnnl/lr\r\rw\

NOTE:

Affurtl€ys (,U'Krwwn)

 

County of Residence of Firsl Listed Defendunt

Robert Halterrnan, an individual; Chakra Capitat Group, an unknown
entity; Scott Carney, an individua|; Ethan Vanderbuitt, David

(IN U.S. PLAINTIFF CASES ONLY)

[N LAND CONDEMNATION CASES, USE THE LOCAT]ON GF
THE TRACT OF LAND INVOLVE.D.

 

II. BASIS OF JURISDICTION (P!n‘ce.n): "X" in Om.' Bo.\.‘. Oir[*>j

Cl l U.S. Ciovemment

Plninti l`f

3 2 U.S. Govemment
Det`emtunt

tIl 3 Fedemt Question

(U..S`. Gover.':me)i! No.t a Pm'.fy)

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IV. NATURE OF SU.IT (Pluce rm "X" fn Une Box 01th

(Fo:' Dz'ver.w'fy Cases Om'y)

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Cirizen ot`Anmher Siure

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Citizen or Subject ol'a CI

Forei 313 Ci)untry

III. CITIZENSHIP OF PRINCIPAL PARTIES (Pluce an "X" r'.li Orm Barj?))':°frrt'nt.w'

and O.'!e Boxf)r Defendnm)

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Click here for: Nature of Suit Code Descri tinns.

 

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120 Marine ll 310 Airplane 111 365 Pcrsnnal Injnryr -

130 Miller Act

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150 Recovcry of Overpuylnent
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153 Recovcry of {Jverpziyment
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:l 362 Persona| lnjury -
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|J 625 Drug Rclated Seizure
of Propcrty 21 USC 831

|J 422 Appcnl 28 USC 158
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Product Liabi|i|y 1:.| 690 Olher 28 USC 157
El 367 l-lealth Care/'
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13 385 Propeny Damage
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_ FEDERAI'. TAX SU`l.TS

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ij 1370 Taxes (U,S. P[aintiff
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26 USC 7609

 

13 375 Falsc CIailns Act

l:l 376 Qui Tam {31 USC
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Cl 430 Bunks and Bzinking

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VI. CAUSE ()F ACTION

Cile thc U.S. Civil Slatutc under which you are filing (Do nor cirejuri.wt`icrr‘uuut statutes unless diver-singh

 

 

Brief description of cause: ` // __1
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VIl. REQUESTED IN
COMPLAINT:

1:1 CHECK IF THlS

rs A C'LASS AchoN

UNDER RULE 23, F.R.CV.P.

VIII. RELATED CASE(S)

IF ANY

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